                                                                  Case 2:12-cr-00238-TLN Document 24 Filed 01/24/13 Page 1 of 2


                                                        1   KRESTA NORA DALY, SBN 199689
                                                            BARTH TOZER & DALY LLP
                                                        2   431 "I" Street, Suite 201
                                                            Sacramento, California 95814
                                                        3   Telephone: (916) 440-8600
                                                            Facsimile: (916) 440-9610
                                                        4   Email: kdaly@btdlegal.com

                                                        5   Attorneys for Defendant NICHOLAS PERRY

                                                        6

                                                        7                               IN THE UNITED STATES DISTRICT COURT

                                                        8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                        9
                                                       10   UNITED STATES OF AMERICA,                          Case No. 2:12-cv-00238-MCE
                                                       11                  Plaintiff,
                                                       12            v.                                        STIPULATION AND ORDER
B ARTH T OZER & D AL Y LLP
                        S ACRAMENTO , C AL I FORNI A




                                                       13   NICHOLAS PERRY and ERIC JOHNSTON,
                            A TTORNE YS A T L AW




                                                       14                  Defendant.

                                                       15

                                                       16                  It is hereby stipulated and agreed to between the United States of America through

                                                       17   Kyle Reardon, Assistant United States Attorney, and defendant, Nicholas Perry, through his

                                                       18   counsel, Kresta Nora Daly, and defendant Eric Johnston, through his counsel Jan David

                                                       19   Karowsky, that the status conference set for January 24, 2013 be vacated. The parties request a
                                                       20   new status hearing be set for March 14, 2013.

                                                       21                  All counsel require additional time for on-going negotiations.

                                                       22   ///

                                                       23   ///

                                                       24   ///

                                                       25   ///

                                                       26   ///

                                                       27   ///

                                                       28   ///
         Case 2:12-cr-00238-TLN Document 24 Filed 01/24/13 Page 2 of 2


                  The parties stipulate time should be excluded pursuant to Local Code T4 for

preparation of counsel. The parties further stipulate this continuance is necessary in furtherance

of justice and outweighs the interests of the defendant and the public for a speedy trial.

Dated: January 18, 2013.                  Respectfully submitted,

                                          BARTH TOZER & DALY LLP

                                          By       /s/ Kresta Nora Daly
                                                   KRESTA NORA DALY
                                                   Attorneys for NICHOLAS PERRY


Dated: January 18, 2013.                  By       /s/ Kresta Nora Daly for
                                                   JAN DAVID KAROWSKY
                                                   Attorney for ERIC JOHNSTON



Dated: January 18, 2013.                  By       /s/ Kresta Nora Daly for
                                                   KYLE REARDON
                                                   Assistant United States Attorney



                                                 ORDER

                  For the reasons stipulated by the parties the status hearing set for January 24, 2013

is vacated. A status hearing will be set for March 14, 2013. The Court finds excludable time

through March 14, 2013 under Title 18, United States Code Section (h)(7)(B)(iv) and Local Code

T4 to allow for preparation and continuity of counsel. The Court finds that the interest of justice

served by granting the request outweighs the best interests of the public and the defendants in a

speedy trial. 18 U.S.C. § 3161(h)(7)(A), (h)(7)(B)(iv).

                  IT IS SO ORDERED.


Dated: January 23, 2013

                                               _________________________________________
                                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT

DEAC_S




                                                  c4d6b0d3


{00007687}
                                OPPOSITION TO MOTION FOR APPOINTMENT OF RECEIVER
